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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:12CR27
                              )
          v.                  )
                              )
KAREN N. FAULKNER-KING,       )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on the consent motion

to extend response deadline (Filing No. 105).              The Court finds

the motion should be granted.       Accordingly,

           IT IS ORDERED that the motion is granted; plaintiff

shall have until April 28, 2014, to file its response to

defendant’s brief regarding unenforceable provision in agreement

for pretrial diversion.

           DATED this 24th day of April, 2014.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _____________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
